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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 PERKINS COIE LLP,

                 Plaintiff,

        v.                                                 Civil Action No. 25-0716 (BAH)

 U.S. DEPARTMENT OF JUSTICE, et al.,

                 Defendants.


                                        STATUS REPORT

       On March 12, 2025, the Court entered an Order (ECF 21) requiring, among other things,

that Defendants file a status report by March 14, 2025 “describing steps taken to ensure

compliance with th[e] Order and certifying compliance with its requirements.” Counsel for

Defendants, accordingly, submit this Status Report.

       1. On March 14, 2025, the Office of the Associate Attorney General sent by e-mail to

             office of general counsel contacts for the named defendant agencies a copy of the

             Court’s Order and directions and guidance to ensure compliance with the Order. The

             e-mail provided background on the litigation, informed the recipients of the specific

             provisions of the Court’s Order, requested that steps to comply with the Order’s

             requirements be taken immediately, and explained that implementation of Sections 1,

             3, and 5 of Executive Order 14230 (“EO”) is prohibited and that any prior steps

             taken, or guidance or directions issued, to implement those sections of the EO must

             be walked back or rescinded. Further, the e-mail requested that agencies inform

             Department of Justice counsel of steps being taken to comply with the Order and

             expected completion of those steps.
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2. As of the time of this filing, Department of Justice counsel have received information

   in response to the e-mail described above from the seven named Defendant agencies

   regarding the various steps those agencies have taken to ensure compliance with the

   Court’s Order, tailored to the agencies’ respective situations. These steps have

   included: rescinding or overriding prior instructions or data calls with respect to

   disclosure by contractors of any business they do with Perkins Coie LLP related to

   Government contracts; issuing directives or instructions that agency staff should

   disregard Sections 1, 3, and 5 of the EO and carry on with their ordinary course of

   business absent those sections, or confirmation of intent to issue such instructions

   expeditiously; issuing directives to agency employees and contractors that

   implementation of Sections 1, 3, and 5 of the EO is prohibited and any prior steps

   taken, or guidance or directions issued, to implement those sections must be walked

   back or rescinded; as well as confirmation that no prior instructions regarding

   Sections 1, 3, or 5 were issued that need to be rescinded.

3. Defendants’ counsel continue to engage with relevant officials at OMB and DOJ

   regarding issuance of guidance to all other agencies subject to the EO to suspend and

   rescind any implementation or enforcement of Sections 1, 3, and 5 of the Executive

   Order, including any reliance on the statements in Section 1.

4. Defendant’s counsel also continue to engage with Defendant agencies regarding

   compliance with the Court’s Order to confirm that Defendants have taken or are

   taking necessary and appropriate steps to comply with the Order.




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     5. Defendant’s counsel intend to provide additional information regarding completion of

        steps to ensure compliance with the Court’s order when such information becomes

        available.



Dated: March 14, 2025                   Respectfully submitted,
       Washington, DC

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